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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                             FOR THE TENTH CIRCUIT                              August 7, 2023
                         _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court
  ANTHONY CASTILLO SANCHEZ,

        Petitioner - Appellant,

  v.                                                          No. 23-6095
                                                      (D.C. No. 5:10-CV-01171-HE)
  CHRISTE QUICK, Warden, Oklahoma                             (W.D. Okla.)
  State Penitentiary,

        Respondent - Appellee.
                       _________________________________

                                      ORDER
                         _________________________________

 Before MATHESON, MORITZ, and EID, Circuit Judges.
                  _________________________________

       This matter is before us to decide whether this court has jurisdiction to consider

 this appeal. Appellant Anthony Sanchez seeks to appeal the district court’s order, entered

 in his 28 U.S.C. § 2254 habeas cases, denying two motions by attorney Eric Allen to be

 appointed as counsel for Mr. Sanchez and to be substituted as counsel for Mr. Sanchez’s

 clemency hearing. Mr. Sanchez is currently represented by Attorneys Mark Barrett and

 Randall Coyne. 1

        The timely filing of a notice of appeal is both mandatory and jurisdictional.

 Bowles v. Russell, 551 U.S. 205, 214 (2007). In a proceeding under 28 U.S.C. § 2254, a


       1
        Pursuant to 18 U.S.C. §§ 3006A(c) and 3599(a)(2), Mark Barrett and Randall
 Coyne are appointed as counsel for Anthony Castillo Sanchez in this appeal. The
 appointment is effective nunc pro tunc to July 18, 2023.
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 notice of appeal “must be filed with the district clerk within 30 days after entry of the

 judgment or order appealed from.” Fed. R. App. P. 4(a)(1)(A); see Manco v. Werholtz,

 528 F.3d 760, 761 (10th Cir. 2008) (applying Fed. R. App. P. 4(a) time limit to § 2254

 proceeding).

        In this case, the district court denied Mr. Allen’s motions on June 6, 2023. The

 time to appeal expired thirty days later on July 7, 2023. Mr. Sanchez filed his notice of

 appeal on July 17, 2023. Although the notice of appeal is dated July 12, 2023, this is still

 after the time to appeal expired. Because Mr. Sanchez’s notice of appeal was late, this

 appeal is dismissed for lack of jurisdiction. Mr. Sanchez’s pro se request for counsel of

 his choice and a stay of execution while he studies the district court’s decisions are

 denied as moot.

        APPEAL DISMISSED.


                                               Entered for the Court,



                                               CHRISTOPHER M. WOLPERT, Clerk




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